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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MICHAEL TERPIN,

Plaintiff,

No.: 20-CV-3557 (CS) (AEK)
-against-

PROOF OF SERVICE
ELLIS PINSKY. as an individual; and DOES 1-

20, Inclusive,

Defendants.

 

 

CORNELIUS P. McCARTHY, ESQ., an attorney duly licensed to practice before the
Courts of the State of New York and admitted to practice in this Court, hereby affirms the
following under penalties of perjury:

1. That I am of counsel to Chehebar Deveney & Phillips LLP, 485 Madison Avenue,
Suite 1301, New York, New York 10022, co-counsel for Plaintiff in the above-captioned

proceeding, and am not a party to the within action.
2. That on December 20, 2021. I served a copy of the Scheduling Order dated
December 15, 2021, Docket No. 65. on Defendant pro se Ellis Pinsky at jj QE

a | GB by regular mail. by depositing the same in a securely enclosed

postpaid properly addressed wrapper in an official depository under the exclusive care and

custody of the United States Postal Service within the Town of Carmel, County of Putnam. State

(A.C

Cornelius P. McCarthy

of New York.
